          Case 1:15-cv-00770-RP Document 105 Filed 06/03/22 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

PNC BANK, NATIONAL ASSOCIATION,                       §
                                                      §
                Plaintiff/Counter-Defendant,          §
                                                      §
v.                                                    §                   1:15-CV-770-RP
                                                      §
SYLVIA RUIZ,                                          §
                                                      §
                Defendant/Counter-Plaintiff.          §

                                                ORDER

        Before the Court is the report and recommendation of United States Magistrate Judge

Andrew W. Austin concerning Plaintiff PNC Bank, N.A.’s (“PNC Bank”) motion for summary

judgment, (Dkt. 71), and Defendant Sylvia Ruiz’s (“Ruiz”) motion for summary judgment, (Dkt. 72).

(Order/R. & R., Dkt. 87).1 In his report and recommendation, Judge Austin recommends that the

Court grant PNC Bank’s motion and deny Ruiz’s motion. (Id. at 11–12). Ruiz filed objections to the

report and recommendation. (Objs., Dkt. 100).

        A party may serve and file specific, written objections to a magistrate judge’s findings and

recommendations within fourteen days after being served with a copy of the report and

recommendation and, in doing so, secure de novo review by the district court. 28 U.S.C. § 636(b).2

Because Ruiz timely objected to the report and recommendation, the Court reviews the report and

recommendation de novo. Having done so, the Court overrules Ruiz’s objections and adopts the

report and recommendation as its own order.




1 In accordance with this Court’s Order, (Dkt. 94), Judge Austin’s order on the cross motions for summary
judgment is construed as a report and recommendation.
2 Although the Court likely does not need to conduct a de novo review of the nondispositive findings and

conclusions of Judge Austin’s summary judgment order/report and recommendation, the Court will err on
the side of caution and review all of the summary judgment order’s findings and conclusions de novo.


                                                     1
         Case 1:15-cv-00770-RP Document 105 Filed 06/03/22 Page 2 of 2



      Accordingly, the Court ORDERS that the report and recommendation of United States

Magistrate Judge Andrew W. Austin, (Dkt. 87), is ADOPTED. IT IS ORDERED that PNC

Bank’s motion for summary judgment, (Dkt. 71), is GRANTED and Ruiz’s motion for summary

judgment, (Dkt. 72) is DENIED.

      The Court will enter final judgment by separate order.

      SIGNED on June 3, 2022.




                                            ROBERT PITMAN
                                            UNITED STATES DISTRICT JUDGE




                                                2
